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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 20-CR-181(4)(PJS)

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                              GOVERNMENT’S SENTENCING
              v.                              MEMORANDUM

 BRANDEN MICHAEL WOLFE,

                     Defendant.

       For the following reasons, the United States recommends that Defendant Branden

Michael Wolfe receive a sentence 42 months imprisonment. The United States believes

that such a sentence is sufficient, but not greater than necessary, to comport with the

Section 3553(a)(2) sentencing factors.

I.     Relevant Facts

     A. Offense Conduct

       On May 25, 2020, George Floyd died while being arrested by the Minneapolis

Police Department. (Presentence Investigation Report (“PSR”) ¶ 11, ECF No. 125.) The

nature and circumstances of Mr. Floyd’s arrest, subsequent death, and the actions of the

Minneapolis Police Department came under intense public scrutiny. (Id.) Almost

immediately following Mr. Floyd’s death, public protests began in Minneapolis and

expanded throughout the Twin Cities metro area. (Id.)

       Following the mostly peaceful protests that occurred on May 26, 2020, the cities of

Minneapolis and St. Paul endured multiple nights of violence and destruction. (PSR ¶ 12.)

Between May 27 and May 30, 2020, following several peaceful protests, hundreds of
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individuals vandalized and looted local businesses and destroyed buildings, vehicles, and

other property through arson, smashing doors and windows, and throwing objects. (Id.)

The Minneapolis neighborhood surrounding the East Lake Street-Hiawatha intersection,

near the site of the police’s encounter with Mr. Floyd, was particularly hard hit, with

numerous business in the neighborhood looted and partially destroyed by vandalism and

arson (Id.) On May 27, 2020, several businesses surrounding the Third Precinct were

looted, and multiple fires were set, including to an apartment complex under construction

that was essentially destroyed. (Id.) City authorities began to discuss if the Third Precinct

building should be abandoned, and vehicles, weapons, computers, and sensitive files were

ultimately moved offsite. (Id.)

        On May 28, 2020, it became clear that assistance was required. The National Guard

was called on to assist in the city of Minneapolis. (PSR ¶ 13.) Throughout the day, hundreds

of people remained gathered around the Third Precinct building. (Id.) A small handful of

officers were stationed on the roof guarded the building. (Id.) A mobile fence had been

erected around the building which was increasingly tested by the protestors as the evening

went on. (Id.) At about 9:30 p.m., the approximately 15 to 20 officers that remained at the

Third Precinct were ordered to evacuate as the crowd, which by some estimates topped

1,000 people, grew larger and more aggressive, and became increasingly uncontrollable.

(Id.)

        Shortly after 10 p.m., an individual breached the temporary fence that had been

protecting the Third Precinct building. (PSR ¶ 14) Soon after, many protestors followed

and entered the building. (Id.) Rioters damaged property and set multiple fires in the


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building. (Id.) Firefighters could not reach the building due to the large number of

protestors and the violent acts of the rioters. (Id.) The fires were eventually extinguished

the following morning. (Id.)

       Branden Michael Wolfe was at the Third Precinct building while it was burning.

(PSR ¶ 21.) While at the scene, Wolfe (pictured below in the foreground) pushed a barrel

into an existing fire located near the entrance to the Third Precinct, which had been

previously set by others with the intent to accelerate it. (Id.)




       At some point that evening, Wolfe entered the Third Precinct building and stole

several items, including a police vest, duty belt, handcuffs, earpiece, baton, knife, riot

helmet, pistol magazine, police radio, police overdose kit, uniform name plates, and



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ammunition. (Id.) Wolfe was arrested on June 3, 2020, wearing the police vest, the duty

belt and carrying the tactical baton at his former place of employment, where he worked as

a security guard. (Id.)




   B. Community Impact

       Wolfe and his co-conspirators’ conduct impacted the surrounding community, both

those associated with the Third Precinct as well as community business owners and

residents more broadly.

       Multiple officers stationed at the Third Precinct submitted victim impact statements.

They described the impact of seeing their workplace destroyed. Family members of law

enforcement officers also submitted statements, like the young child that discussed the



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feeling of seeing her mother’s place of work burn live on television while worrying about

the safety of her mother. Civilian employees who worked at the Third Precinct also

submitted statements. One individual, a Crime Prevention Specialist, addressed community

members’ concerns for high crime areas located in the precinct. He discussed the damage

to the community by the loss of community programs like the Community Response Team

and Neighborhood Coordination Officers, and how those in the community rely on those

resources. Numerous community members also submitted statements describing the impact

of the destruction of the Third Precinct. One described the impact to the community of the

lack of police resources due to the Third Precinct being destroyed, including that the police

are hampered in their ability to respond to crime due to the absence of the precinct building.

Others discussed the defeat, despair, and fear they felt as community members witnessing

firsthand the destruction to their local police precinct.

       In the plea agreement, the parties agreed that the Mandatory Victims Restitution Act

applies and that the total amount of restitution for the loss suffered by the Minneapolis

Police Department was $12,000,000. (PSR ¶ 23.) Those costs include rebuilding or

repairing the Third Precinct building, as well as additional costs for equipment, clean up,

and overtime pay for city employees in the aftermath of the arson. (PSR ¶ 24.)

   C. History of the Defendant

            1.        Wolfe’s Personal Background

       Wolfe is 23 years old. (PSR ¶ 52.) Wolfe had a difficult childhood, during which he

was subjected to domestic violence committed by his biological father against his mother.

(Id.) Growing up, he had very little contact with his biological father, and his relationship


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with his mother, who remarried, was strained. (Id.) Although in his early years he had a

good relationship with his stepfather, he was later kicked out of the family home over a

rent dispute. (PSR ¶¶ 52, 55). As a result, Wolfe was homeless for a few years, and was

sexually assaulted during this period by a man who offered him a place to stay. (PSR ¶

55).

        Wolfe has a limited educational background, only completing homeschooling up to

the eighth grade. (PSR ¶ 54).

        Wolfe was diagnosed with Attention Deficit Hyperactivity Disorder (ADHD) as a

child, and currently has a diagnosis of Bipolar Disorder. (PSR ¶ 62). Wolfe has previously

been suicidal, and in March 2019 was hospitalized for threatening to kill himself by

jumping off a bridge. (Id.). He is currently receiving mental health therapy and medication.

(Id.)

             2.      Wolfe’s Criminal History

        Wolfe’s criminal history for the most part revolves around domestic abuse incidents

directed at the mother of his child, BH. He was convicted of Trespassing and Interference

with an Emergency Telephone Call in 2019. (PSR ¶¶ 43, 44). Wolfe was on probation

when he committed the instant offense. (PSR ¶ 46). In addition, several charges against

Wolfe involving violence against BH were dismissed. (PSR ¶¶ 48, 49).

        The Government concurs with the PSR that Wolfe’s criminal history is II. (PSR ¶

47).




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      D. Procedural History

         Wolfe pled guilty to a single count Indictment charging him and three co-defendants

with Conspiracy to Commit Arson. (PSR ¶ 2.) In his plea agreement. Wolfe agreed that

the base offense level was 24 and no adjustments or enhancements applied. (PSR ¶ 6.) The

parties agree that a three-level reduction for acceptance of responsibility would reduce the

total offense level to 21. (Id.) The parties opined that Wolfe’s criminal history was I, which

would have resulted in a guideline range of 37-46. (Id.) Wolfe’s actual criminal history is

II, so the guideline range is 41-51 months imprisonment. (PSR ¶ 76.) Wolfe also stipulated

that the loss amount for purposes of restitution was $12,000,000, but the parties reserved

their rights to make legal arguments about the amount of restitution to be paid by Wolfe.

II.      Argument

      A. Legal Background

         “[A] district court should begin all sentencing proceedings by correctly calculating

the applicable Guidelines range.” Gall v. United States, 552 U.S. 38, 49 (2007). “[U]nder

the advisory guidelines scheme, sentencing judges are required to find sentence-enhancing

facts only by a preponderance of the evidence.” United States v. Scott, 448 F.3d 1040, 1043

(8th Cir. 2006).

         “[A]fter giving both parties an opportunity to argue for whatever sentence they

deem appropriate, the district judge should then consider all of the § 3553(a) factors to

determine whether they support the sentence requested by a party.” Gall, 552 U.S. at 49-

50; 18 U.S.C. § 3553(a). The Section 3553(a) factors include “the nature and circumstances

of the offense,” “the history and characteristics of the defendant,” “the need for the sentence


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to reflect the seriousness of the offense,” “the need for deterrence,” “the need to protect the

public from further crimes of the defendant,” and “the need to avoid unwarranted

disparities.” 18 U.S.C. § 3553(a).

   B. The Presentence Investigation and Guidelines Calculations

       The United States has reviewed the PSR prepared by the U.S. Probation Office. As

noted in the PSR, the parties entered a plea agreement on December 21, 2020. The total

offense level contemplated in the plea agreement is inconsistent with the PSR, based on

the parties’ underestimation of Wolfe’s criminal history. However, the PSR correctly

found Wolfe fell into Criminal History Category II, and Wolfe did not object.

       The PSR concluded that, based on a total offense level of 21 and criminal history

category of I, the resulting advisory Guidelines range of imprisonment is 41 to 51 months

imprisonment.

   C. The Appropriate Sentence

       A careful consideration of the Section 3553(a) factors warrants a sentence of 42

months imprisonment.

            1.       The Nature and Circumstances of the Offense and the Need for
                     the Sentence Imposed to Reflect the Seriousness of the Offense

       Wolfe participated in an unquestionably serious conspiracy to commit arson at a

police station. He added to an ongoing blaze by adding a wooden barrel to the fire burning

near an entrance to the Third Precinct building.

       However, Wolfe was one of only many who participated in the destruction of an

active police station. Investigating agents identified at least 45 areas of origin where fires



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had been started throughout the Third Precinct building. Dozens of unidentified co-

conspirators participated in setting those fires, along with looting, vandalism, and

destruction of the rest of the building. From a destruction standpoint, Wolfe’s singular act

of rolling a barrel into a lit fire outside the building played an average (or even below

average) role compared to others.

       On the other hand, Wolfe, in addition to conspiring to commit arson, entered the

Third Precinct building after it had been abandoned and stole a significant amount of public

property. At best, these items could be viewed as merely souvenirs. At worst, some of the

items could have been used in future violent protests, including the body armor, police

baton and handcuffs. In fact, Wolfe was arrested wearing the body armor and police belt

and carrying the baton. Some additional culpability is warranted for this conduct.

       In his written statement of acceptance of responsibility, Wolfe acknowledged that

he took “full responsibility” for his actions, but also acknowledged the role played by his

ongoing struggles with mental illness. (PSR ¶27 .)

       The protests of racial injustice following the death of George Floyd and events

leading up to the arsons at the Third Precinct were unprecedented. Importantly, much of

the anger and pain of protesters was directly aimed at the Third Precinct – as a building

and as a symbol – because all four officers associated with the death of George Floyd were

stationed at the Third Precinct. That fact in no way excuses the violence or destruction

aimed at the Third Precinct. It does, however, create a juxtaposition against the violence

and destruction of seemingly unrelated buildings in the community, including a school,




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liquor stores, pawn shops, and a post office (to name but a few examples of local businesses

that were looted, vandalized, set on fire, or otherwise destroyed).

       Ultimately, however, the sentence imposed must reflect the unquestionably serious

nature of the offense. Wolfe joined others in keeping the fires burning at the Third Precinct

building. He participated in the near total destruction of an active police precinct that

caused $12 million in damages. The neighborhoods served by the Third Precinct faced

unique challenges of dealing with an increase in crime rates without a precinct to house the

police force charged with protecting those neighborhoods.

       In addition, the sentence should reflect the seriousness of arson, a violent felony.

Wolfe and his co-conspirators started a fire in proximity to the entrance of the Third

Precinct – with multiple people in their vicinity and an unknown number of people inside

the building. He risked the lives of the numerous individuals inside the Third Precinct.

Once a fire is started, it can spread uncontrollably and cause untold damage to people or

property. This is precisely why arson is considered a violent crime. A significant sentence

will reflect the serious risks to and impact on the community from the arsons committed at

the Third Precinct.

             2.       The History and Characteristics of the Defendant

       Wolfe had a chaotic childhood, marked by domestic violence between his parents,

a lack of education and socialization, and childhood mental illness. These challenges

shaped him greatly. He has engaged in domestic violence. His mental illness continues to

affect his life choices.




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       Wolfe’s criminal history is concerning. At his young age, he has two convictions

related to domestic violence against a single victim, and several domestic abuse charges

that were dropped. He objects to the inclusion of the dropped offenses in the PSR, but the

Court should consider them because they are significant in determining whether Wolfe will

continue to engage in violent activity.

       Wolfe’s statement regarding acceptance of responsibility was perfunctory. In his

statement of acceptance, he expresses no remorse for his actions. He largely blames his

mental illness for the choice he made to join a violent protest and assist in burning down a

police station.

       Wolfe correctly notes that he met with the Government soon after he was charged

and provided what appeared to be a truthful proffer. He entered a guilty plea early and

admitted his culpability without engaging in protracted litigation.

            3.         The Need for the Sentence Imposed to Promote Respect for the
                       Law and Afford Adequate Deterrence.

       It is almost unfathomable to think that an active police precinct in the city of

Minneapolis was overrun, looted, vandalized, and set on fire. This conduct represents a

total breakdown of respect for the law. A significant sentence is necessary to promote

respect for the law.

       The sentence should have an overall deterrent effect. The sentence imposed must be

tailored to prevent Wolfe from committing another crime. This is Wolfe’s first felony

conviction and marked a significant departure from his otherwise relatively minor criminal

history. The Government does believe that a significant sentence is necessary to provide



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specific deterrence to prevent Wolfe from escalating his behavior and committing another

serious crime. In addition, general deterrence is also necessary to demonstrate the

importance of laws and deter future conduct. See Ferguson v. United States, 623 F.3d 627,

632 (8th Cir. 2010) (“Congress specifically made general deterrence an appropriate

consideration . . . and [the Eighth Circuit has] described it as ‘one of the key purposes of

sentencing.’”) Others are more likely to be deterred from committing similar violence and

destruction if they learn they will pay a stiff price for it.

       A sentence of 42 months imprisonment will serve the needs of sentencing to reflect

the seriousness of the offense, promote respect for the law, provide just punishment for the

offense, and afford adequate deterrence.

             4.       The Need to Avoid Unwarranted Sentencing Disparities

       Three co-defendants have plead guilty and are presently awaiting sentencing before

this Court. The Government is not aware of any other cases that would create an

unwarranted sentencing disparity.

III.   Conclusion

       For all the above reasons, the United States respectfully requests that the Court

impose a sentence of 42 months imprisonment.

                                                     Respectfully submitted,

Dated: April 15, 2021                                W. ANDERS FOLK
                                                     Acting United States Attorney

                                                     /s/ David P. Steinkamp
                                                     BY: DAVID P. STEINKAMP
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                                                     Assistant U.S. Attorneys


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